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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                           Crim. No. 17-201-1 (ABJ)
 PAUL MANAFORT, JR.,

               Defendant


      JOINT NOTICE ON TRANSFER OF CIVIL COMPLAINT TO THIS COURT

       In response to the Court’s Order of January 16, 2018, regarding whether the civil case

Manafort v. Dep’t of Justice, No. 18-cv-11-KBJ (D.D.C.), should be transferred to this Court, the

parties believe that transfer would be permissible pursuant to Local Civil Rule 40.6(a), provided

that both judges consent. Neither party would have any objection to such transfer.



                                                    Respectfully submitted,

                                                    ROBERT S. MUELLER III
                                                    Special Counsel

Dated: January 19, 2018                     By:     __/s/_ Andrew Weissmann_____________
                                                    Andrew Weissmann
                                                    Greg D. Andres (D.D.C. Bar No. 459221)
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cc: Kevin Downing, Esq.
